                            UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION
                           DOCKET NO. 3:05-cr-00217-FDW-DCK
 UNITED STATES OF AMERICA,                           )
                                                     )
        Plaintiff,                                   )
                                                     )
 vs.                                                 )
                                                     )                  ORDER
 RONALD TAMARCUS CLARK,                              )
                                                     )
        Defendant.                                   )
                                                     )
                                                     )

       THIS MATTER is before the Court on Defendant’s Motion for Compassionate Release

(Doc. No. 51).       The Court hereby ORDERS the Government to respond to the merits of

Defendant’s motion, including arguments and/or concessions on the 18 USCA § 3553(a) factors.

If applicable, the response should also include whether or not Defendant has received, is scheduled

to receive, or has refused to receive the COVID-19 vaccine. The Government shall have thirty (30)

days from the date of this Order to file its response with the Court. The Government shall advise

the United States Probation Office if the Government believes a supplemental Presentence

Investigation Report will be required.

       IT IS SO ORDERED.

                                    Signed: November 10, 2021




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